     Case 1:17-cr-00350-LAP Document 1273 Filed 07/08/20 Page 1 of 5



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                17 Cr. 350 (LAP)
-against-
                                                       ORDER
RAZHDEN SHULAYA,

                    Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of Defendant Razhden Shulaya’s pro se

request for bail pending appeal and for appointment of counsel, a

copy of which is attached hereto.

     Per Mr. Shulaya’s request, CJA Counsel shall be appointed to

represent him in this matter. CJA Counsel may supplement Mr.

Shulaya’s request for bail pending appeal no later than 21 days

after the date of his/her appointment. The Government shall file

any opposition to Mr. Shulaya’s request for bail pending appeal no

later than 21 days after CJA Counsel files any supplemental papers.

CJA Counsel may file a reply no later than 14 days after the

service of the Government’s opposition.

     To   the   extent   that   Mr.   Shulaya   is   requesting   appellate

counsel, he should address that request to the Court of Appeals.

     Chambers will mail a copy of this order to Mr. Shulaya.

SO ORDERED.

Dated:      New York, New York

                                      1
Case 1:17-cr-00350-LAP Document 1273 Filed 07/08/20 Page 2 of 5



    July 8, 2020

                      __________________________________
                      LORETTA A. PRESKA
                      Senior United States District Judge




                              2
Case 1:17-cr-00350-LAP Document 1273 Filed 07/08/20 Page 3 of 5
Case 1:17-cr-00350-LAP Document 1273 Filed 07/08/20 Page 4 of 5
Case 1:17-cr-00350-LAP Document 1273 Filed 07/08/20 Page 5 of 5
